
74 N.Y.2d 837 (1989)
The People of the State of New York, Respondent,
v.
Hector Reyes, Appellant.
Court of Appeals of the State of New York.
Argued September 8, 1989.
Decided September 21, 1989.
John Gemmill and Philip L. Weinstein for appellant.
Robert T. Johnson, District Attorney (Anne M. Schaible and Peter D. Coddington of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
Order affirmed. The issues relating to defendant's sentence as a second crime offender are moot, and the remaining issue is not preserved.
